Case 2:10-md-02179-CJB-DPC Document 27356-1 Filed 03/16/22 Page 1 of 2

RETAINER AGRY

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EMERT
This relziner agreement seis forth the ters end conditions under which

a we _ (Client)
agrees to relain The Lev 8 Hees of Downs } land under which

Law Group ("Fira") as lepal coun
prescit client, Tus relaines agreemera serves as the binding end canircliing
i ies and ievekes apy and ail former retainers. The terme and conditions

Se i
-lim agrees 10 rep

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grees fo take sieps that are in its judgement reasonable and

advisable to enforce Clienz’s rights.

2 As compensation for its services, the Client agrees to pay the Firm the higher of ar,
amount awarded by the Coun or 2 reasonable fee as tollows:

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A) 35 percent of any recovery up to 3 1.000.000 though the um
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i) acailion. the Clie
expenses Incurred by the Firm. 1

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ne and printing costs. mailing
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ne Client to pay a

fo wukhald sefficient fonds ft - om an
oulsianding bills owed io a doctor or peer
4 The contingent fee a
will be paid from any p30

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wunt is based upen the gross recovery befere costs. All cusis
eeds recovered for lhe Client afler acco runting for the fee, and if nu
recovery is i ade, the Client wili not be indebted 19 the F

Firm for amy sum whaisacver as to fees ar
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costs ave independent of fees, and ate the res ponsibilitv af the Client. Also. the
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tlememt or pudeement te deduci and retain ary fees and

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costs from iis WwUusl 6ecGunt pric cisbursing the balance to ihe Client

S The wnidersigned client understands shat oe will be seen by medical physicians
regard tothe rales Micdical Class Benefits Sealement idatrix. This cheat shall incur medical

expenses for visi its ¢ 2 in ihe seitlement program an i are necessary and required in orden to teke

at. The undersigned agrees that when ther recover maney damages from
nye BP setlement, w ponion of ther sewlement will be laken and distributed for the paymen of an
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fe their Medical
tred charges will vers depending on vie medical evaluatio

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Case 2:10-md-02179-CJB-DPC Document 27356-1 Filed 03/16/22 Page 2 of 2

showy thelr consent (a the above en angement through their siuneiure below,

6. The undersigned cliem has. before signing this comtrac!, received and read the
slalement of client's tights and understands each of the rights set forth therein. The undersigned

clicat has signes the statement and received a signed copy i refer lo while being represented by the
Finn.

7. This conuact may be canceled by written notification to the ailarney at any time
within 3 business days of the date the coniract was signed. as shown below, and if canceled the client
shall not be obligated {o pay any fees to the allerney for ihe work performed during thai time. Ifthe
atiomey has advanced funds to others in representation of the client, the attarney is entitled to be
reimbursed for such amounts as the atlorney has reascnably advanced on behalf of the client. The
Client may terminate the Firm's engagement by unten notice after three (3) business days of the
dai this agreemeni was signed, as shown below, byt ifse canceled, the Firm may place a charging
en for fees to the Firm for the work it performed. The Firm alse has a right 10 terminate this

engagemeni, subject lo an obligation to give the Client reasonable notice to permit it ta obtain

allemative representation or services and subject 1 applicable ethical provisions. In ihe event of
such termination, the Firm wil! provide reasonable assistance in effecting a transfer of
responsibilities to the new firm.

6 Craig Downs, Esquire. will be the etiorney's primarily responsible for this matter,
additionally Marx Sterbeoy, Esquire and Jason Melancon, Esquire will assist with ihis matler, The
Client) understands and agrees that other members of the Firm, associaies or perglegals. may assist
lead counsel] in the preparation and tria! of the case

9 The Clie and the Firm agree end request that this Retaine: Agreement, ity terms and
ecnditions, and the amount of any fecs and/or expenses pard in connection with i. will remain
strictly secret, confidential, private and considered part of the atlorney-client and work product
povileges, unless and until the CHent affirmatively waives such privilege and confidentiality, or a

cuurl urders disclosure. afier all appropriate litigation and appellate remedies have been sought.

1a. This Reiginer Agreement constiiutes the entire agreement between the Finn and the
Client. and there are no oral agreeinents or understandings other than that which is contaised herein
Allamendments, additions or changes to this agreement shall be in writing and agreed to and signed
by the parties. The laws of the State of Florida shall povern the

imterpreiation of this Retaine:
Agreement, including all rules or codes of ethics which apply to {}

ic provision of sersices
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